               Case 3:14-cv-05180-EMC Document 275 Filed 02/13/18 Page 1 of 3



 1   SEYFARTH SHAW LLP
     Brian T. Ashe (SBN 139999)
 2   bashe@seyfarth.com
     Shireen Yvette Wetmore (SBN 278501)
 3   swetmore@seyfarth.com
     560 Mission Street, 31st Floor
 4   San Francisco, California 94105
     Telephone:    (415) 397-2823
 5   Facsimile:    (415) 397-8549

 6   SEYFARTH SHAW LLP
     Kyle A. Petersen (ISBN 6275689) (admitted Pro Hac Vice)
 7   kpetersen@seyfarth.com
     131 South Dearborn Street, Suite 2400
 8   Chicago, Illinois 60603
     Telephone:     (312) 460-5000
 9   Facsimile:     (312) 460-7000
10   Attorneys for Defendants
     DIGITAL REALTY TRUST, INC. and ELLEN JACOBS
11

12                                     UNITED STATES DISTRICT COURT

13                                    NORTHERN DISTRICT OF CALIFORNIA

14   PAUL SOMERS, an individual,                               Case No. 3:14-cv-05180 EMC

15                       Plaintiff,                            DEFENDANTS’ OPPOSITION TO
                                                               PLAINTIFF’S REQUEST FOR
16            v.                                               EXTENSION OF TIME TO RESPOND TO
                                                               MOTION, REQUEST FOR REOPENING
17   DIGITAL REALTY TRUST, INC., a Maryland                    OF DISCOVERY
     corporation; ELLEN JACOBS, an individual, and
18   DOES ONE through TEN, inclusive,                          Date: April 19, 2018
                                                               Time: 11:00 A.M.
19                       Defendants.                           Judge: The Hon. Kandis A. Westmore
20                                                             Complaint Filed: November 2, 2014

21

22

23
              Defendants DIGITAL REALTY TRUST, INC. and ELLEN JACOBS have four reasons to
24
     oppose Plaintiff’s Request for Extension of Time to Respond to Motion, Request for Reopening of
25
     Discovery [Dkt. No. 274].
26
              First, Plaintiff seeks relief from the improper Court. If he wants to re-open discovery, then such
27
     relief needs to be addressed to Judge Chen, not Judge Westmore. Judge Chen set the discovery cut off
28

          DEFENDANTS’ OPPOSITION TO PLAINTIFF’S REQUEST FOR EXTENSION OF TIME TO RESPOND TO
               MOTION, REQUEST FOR REOPENING OF DISCOVERY / CASE NO. 3:14-CV-05180 EMC
     44393109v.1
               Case 3:14-cv-05180-EMC Document 275 Filed 02/13/18 Page 2 of 3



 1   and controls that calendar. [Dkt. Nos. 210, 211, 242 (stay and orders lifting stay for limited purposes)];

 2   see also Chen’s Civ. Standing Order - General, ¶ 4 (“No changes to the Court’s schedule shall be made

 3   except by order of the Court.”).

 4            Second, the motion is late. Any request for an extension should have been filed on or before the

 5   date for the opposition to Defendants’ Motion for Sanctions [Dkt. No. 271]. That was due on February

 6   8, 2018, 14 days after its filing on January 25, 2018. Loc. R. 7.3; Ashe Decl. Exh. A. Plaintiff does not

 7   explain his tardiness, let alone make a showing of good cause for it.

 8            Third, even if the Request for Extension was before the proper Court and timely, it should still be

 9   denied because Plaintiff does not comply with Local Rule 6. He does not:
10            (1) submit a proposed order (Loc. R. 6-3(a)),

11            (2) submit a declaration (Loc. R. 6-3(a)),

12            (3) describe any efforts made to obtain a stipulation to the time change (Loc. R. 6-3(a)(2)),

13            (4) identify the substantial harm or prejudice that would occur if the extension is not granted

14            (Loc. R. 6-3(a)(3)), or

15            (5) disclose previous time modifications in the case, whether by stipulation or court order (Loc.

16            R. 6-3(a)(5)).

17   Although Plaintiff says that the requested time modification would add “no delay to the proceedings”

18   [Dkt. No. 274, p.1:19], that is inaccurate. (Loc. R. 6-3(a)(6).) The parties are to return to Judge Chen

19   on April 5, 2018 to set the summary judgment briefing, pre-trial and trial schedule [Dkt. No. 272]. Yet,
20   the 75-day extension Plaintiff seeks would transcend that date and move his opposition to at least April

21   28, 2018, thereby pushing a hearing on the Motion for Sanctions into mid-May.

22            That sort of extension would require the April 5, 2018 scheduling conference to be moved at

23   least six weeks so the parties can know if the issue sanctions Defendants are seeking in the Motion for

24   Sanctions are granted before they write their motion for summary judgment. The proposed extension

25   would move everything about three months at a minimum.1

26

27
     1
      That three month delay is probably wishful thinking. If the extension is granted it would be to allow Plaintiff to do lots of
28   new discovery. That would inevitably result in more litigation and delay, if the history of this case to date is any guide.
                                                                   2
         OPPOSITION TO PLAINTIFF’S REQUEST FOR EXTENSION OF TIME TO RESPOND TO MOTION, REQUEST
                         FOR REOPENING OF DISCOVERY / CASE NO. 3:14-CV-05180 EMC
     44393109v.1
               Case 3:14-cv-05180-EMC Document 275 Filed 02/13/18 Page 3 of 3



 1            Fourth, Plaintiff fails to make a showing of good cause for the requested extension. He does not

 2   address the Court’s Discovery Order [Dkt. No. 245], which is the primary focus of the Motion for

 3   Sanctions. Instead, his only concern rests with the part of Defendants’ motion dealing with his behavior

 4   in Washington D.C. He calls that part scandalous and homophobic, but these labels do not explain why

 5   an extension is needed.

 6            Plaintiff always asks to reopen discovery in every court filing, so it is not surprising that he asks

 7   again now. But Defendants’ Motion for Sanctions is not grounds for that relief. The issues in the

 8   Court’s Discovery Order have been around for a long time already and most of the facts portraying

 9   Plaintiff’s disturbing conduct in Washington are taken from his written admissions in the
10   digitalcruety.com blog. He understandably does not like the way the photographs and blog postings he

11   published are being used against him in argument, but that does not amount to good cause to reopen

12   discovery. He is the master of these facts, no one else.

13            Plaintiff’s motion for an extension of time should be denied for these four reasons. Because

14   there was no good cause for the tardy requested extension, the Defendants’ Motion for Sanctions should

15   be deemed submitted without an opposition. Barring that, Defendants request an opportunity to respond

16   to Plaintiff’s opposition, should he be permitted to file one late, as the time to file Defendants’ reply will

17   have passed.

18
     DATED: February 13, 2018                                   Respectfully submitted,
19
                                                                SEYFARTH SHAW LLP
20

21
                                                                By:     /s/ Brian T. Ashe
22                                                                    Brian T. Ashe
                                                                      Kyle A. Petersen (admitted pro hac vice)
23                                                                    Shireen Y. Wetmore
24                                                              Attorneys for Defendants
                                                                DIGITAL REALTY TRUST, INC.
25                                                              and ELLEN JACOBS
26

27

28
                                                            3
       OPPOSITION TO PLAINTIFF’S REQUEST FOR EXTENSION OF TIME TO RESPOND TO MOTION, REQUEST
                       FOR REOPENING OF DISCOVERY / CASE NO. 3:14-CV-05180 EMC
     44393109v.1
